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Attorneys for Plaintiffs

                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


NEW WALLINGTON HOME, LLC, a
New Jersey limited liability company;
MORNINGSIDE at WALLINGTON, LLC,
a New Jersey limited liability company,    Civil Action No.2:20-cv-08178

                                           STIPULATION REGARDING
                      Plaintiffs,
                                           BRIEFING SCHEDULE OF
vs.                                        DEFENDANTS’ MOTIONS TO
                                           DISMISS
BOROUGH OF WALLINGTON, and
BOROUGH OF WALLINGTON
PLANNING BOARD,
                       Defendants.

        WHEREAS Defendant Borough of Wallington (“BW”) filed a Motion to Dismiss

Plaintiffs’ Complaint which is currently returnable on October 19, 2020;

        WHEREAS Plaintiffs’ opposition papers to the BW Motion to Dismiss are

currently due on October 5, 2020;

        WHEREAS Defendant Borough of Wallington Planning Board (“BWPB”) filed a

Motion to Dismiss Plaintiffs’ Complaint which is currently returnable on November 2,

2020;

        WHEREAS Plaintiffs’ opposition papers to the BWPB Motion to Dismiss are

currently due on October 19, 2020;

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        WHEREAS, the parties would like to set a briefing schedule with regard to both

Defendants’ Motions to Dismiss;

        WHEREAS, Plaintiffs require additional time to file their opposition papers to the

BW and BWPB Motions to Dismiss and the parties have conferred and agreed to a new

briefing schedule and hearing date thereon;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and

among the plaintiffs and defendants, by and through their respective undersigned counsel,

that:

        1.           Plaintiffs shall file and serve its opposition papers to the BW and

                     BWPB Motions to Dismiss the Complaint no later than November 9,

                     2020;

        2.           Defendants BW and BWPB shall file and serve its reply papers with

                     regard to the Motions to Dismiss no later than November 30, 2020.

        3.           The BW and BWPB’s Motions to Dismiss shall be returnable on

                     December 7, 2020.



ACCEPTED AND AGREED:

Dated: October 2, 2020

                                          Bruce H. Nagel
                                          NAGEL RICE, LLP
                                          103 Eisenhower Parkway
                                          Roseland, NJ 07068

                                          By: s/ Bruce H. Nagel
                                          Attorneys for Plaintiffs


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                                   By: s/ Mary McDonnell
                                   Attorneys for Defendant Borough of Wallington
                                   Planning Board


                                          13 day of
The above Stipulation is SO ORDERED THIS _____

October, 2020


_____________________________________
HONORABLE CLAIRE C. CECCHI
United States District Court Judge




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